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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED ST ATES DISTRICT COURT United States Courts

Southern District of Texas

 

 

 

for the FILED
Southern District of Texas April 07, 2019
United States of America ) David J. Bradley, Clerk of Court
Vv. )
. Case No.
Alexis Alvaro RAMIREZ )
COB: United States ) M-19-MJ- q 4 AM
YOB: 1999 )
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 04/06/2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841 did knowingly and intentionally possess with the intent to distribute
approximately 21.48 kilograms of Methamphetamine, a Schedule I! controlled
substance.
21 USC 952 did knowingly and intentionally import with the intent to distribute
approximately 21.48 kilograms of Methamphetamine, a Schedule i] controlled
substance.

This criminal complaint is based on these facts:

SEE ATTACHMENT A

@ Continued on the attached sheet.

/S/ Alt Muhiuddin

 

Complainant's signature

Ali Muhtuddin, HSI Special Agent

 

Sworn to and executed by reliable electronic means, sworn to Printed name and title

and attested telephonically per FED.R.CR.4.1, and probable

cause found on:
@ Giller
Date: 04/07/2019 ,
Judge ’s signature
City and state: McAllen, TX U.S. Magistrate Judge J. Scott Hacker

( Printed name and title
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ATTACHMENTA

This affidavit is intended to establish sufficient probable cause and does not set forth all of my knowledge
about this matter.

On April 6, 2019 at approximately 2016 hours, Alexis Alvaro RAMIREZ (United States Citizen) while
driving a vehicle applied for entry into the United States (U.S.) via the Donna, Texas, Port of Entry (POE).
A Customs and Border Protection Officer (CBPO) obtained a negative declaration for narcotics and other
items and referred RAMIREZ to secondary inspection.

During the secondary inspection, a Z-Portal scan indicated anomalies within a speaker box in the trunk of
the vehicle. A CBP K-9 subsequently alerted to the odor of narcotics in the interior center console and
trunk of the vehicle. Concealed in a speaker box within the trunk of the vehicle, CBPOs
subsequently discovered seven brick shaped packages wrapped in plastic and two fire extinguishers
containing a white substance which field tested positive for methamphetamine. The seven packages and
the white substance extracted from within the fire extinguishers had a combined weight of approximately
21.48 kilograms.

On April 6, 2019, at approximately 2210 hours, Homeland Security Investigations (HSI) Special
Agent (SA) Ali Muhiuddin and CBPO Lorenzo Botello interviewed RAMIREZ, who waived his Miranda
Rights in writing. The interview was conducted in the Spanish language and translated by CBPO

Botello. RAMIREZ stated the following in summary:

RAMIREZ was introduced to a subject in Mexico that solicited him to smuggle methamphetamine into
the United States. On the morning of April 6, 2019, the subject confirmed RAMIREZ’s interest
to smuggle narcotics into the U.S. in exchange for $3,000 in compensation. In the evening of April 6,
2019, the subject provided a vehicle to RAMIREZ, which they were both aware contained
narcotics. RAMIREZ did notknow the amount and location of the narcotics within the vehicle,
however knew it contained methamphetamine. RAMIREZ subsequently attempted to enter the U.S.
in the said vehicle via the Donna POE.

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